              Case 2:21-cv-00959-RSM Document 10 Filed 09/30/21 Page 1 of 2




 1
 2
 3
 4
 5
 6
 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9
10    ROBERT A. STANARD,                                Case No. C21-959RSM

11                   Petitioner,                        ORDER DENYING MOTION FOR
                                                        DEFAULT JUDGMENT
12                       v.
13
      DEWAYNE HENDRIX, Warden, Federal
14    Corrections Institution at Sheridan,
15                   Respondent.
16
            This matter comes before the Court on Petitioner Stanard’s Motion for a
17
     Default Judgment, Dkt. #8. Mr. Stanard argues that Respondent has failed to file a response
18
19   to his § 2255 Motion within 45 days as ordered by the Court. See Dkt. #8; Dkt. #4 (“Order

20   Directing Answer”, dated July 21, 2021).
21
            The Court will deny this relief because Respondent did file a timely Response. See Dkt.
22
     #6, filed September 7, 2021. This Response was filed on the first business day after the 45-day
23
24   deadline and is considered timely by the Court. See LCR 6(a). The Court acknowledges that

25   there may have been a delay in Mr. Stanard receiving a copy of the Response due to his
26   incarceration. In any event, Mr. Stanard has now filed a Reply brief in support of his § 2255
27
     Motion. See Dkt. #9.
28



     ORDER DENYING MOTION FOR DEFAULT JUDGMENT - 1
             Case 2:21-cv-00959-RSM Document 10 Filed 09/30/21 Page 2 of 2




           Having reviewed the relevant briefing and the remainder of the record, the Court hereby
 1
 2   finds and ORDERS that Petitioner Stanard’s Motion for a Default Judgment, Dkt. #8, is

 3   DENIED.
 4
 5
           DATED this 30th day of September, 2021.
 6
 7
 8
 9
10
                                               A
                                               RICARDO S. MARTINEZ
                                               CHIEF UNITED STATES DISTRICT JUDGE
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



     ORDER DENYING MOTION FOR DEFAULT JUDGMENT - 2
